                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN
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ESTATE OF ANTONIO GONZALES, by and through its
its Personal Representative, Sandra Gonzales,

                             Plaintiff,                          CASE NO. 2:21-cv-00848
v.
CITY OF WAUWATOSA, et al.,

                        Defendants.
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ESTATE OF JAY ANDERSON, JR.
by Special Administrator, Starkeisha DeLaRosa;
J.A. minor child, through her next friend Starkeisha DeLaRosa,

                             Plaintiffs,                         CASE NO. 2:21-cv-1179
v.
CITY OF WAUWATOSA, et al.,

                        Defendants.
______________________________________________________________________________

ESTATE OF ALVIN COLE, by and through its
Special Administrator, Tracy Cole;
TRACY COLE, and ALBERT COLE,

                             Plaintiffs,                         CASE NO. 22-cv-856
v.

CITY OF WAUWATOSA, et al.,

                        Defendants.
______________________________________________________________________________
               DEFENDANTS’ RESPONSE TO PLAINTIFFS’
           REQUEST FOR ORAL ARGUMENT WITH REGARDS TO
     DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT (Dkt. #s 78 and 82)




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       Plaintiffs suggest that oral argument is necessary to determine “salient facts and as to

whether those facts are material and serve as the basis to grant or deny summary judgment.” (ECF

98) Plaintiffs request an extraordinary remedy in ordinary circumstances. The facts and legal

arguments are presented adequately in the briefs and record, and the decisional process would not

be aided significantly by oral argument. Plaintiffs do not claim that oral argument is necessary to

determine the dispositive issues. An additional argument is an unnecessary use of the Courts’ and

parties resources.

       Although a district court judge may hear oral arguments at its discretion when helpful or

necessary to the resolution of a pending motion, that is not the case here. Cargill Meat Sols. Corp.

v. Freezer Refrigerated Storage, Inc, No. 12-CV-0725-MJR-SCW, 2013 WL 4854419, at *1 (S.D.

Ill.Sept. 11, 2013)(denying request for oral argument due to lack of unique circumstances and

where challenged deficiencies were adequately addressed in briefs). Courts have similarly denied

a request for oral argument in cases where the parties have had an abundance of opportunities to

present their arguments to the Court, including the submission of supporting, response, and reply

briefs. Harleysville Lake States Ins. Co. v. Granite Ridge Builders, Inc., No. 1:06-CV-397-TS,

2009WL 102438, at *1 (N.D. Ind. Jan. 13, 2009)(denying request for oral argument because the

parties have been afforded this abundance of opportunities to thoroughly brief the issues and

develop their arguments).

       Accordingly, Defendants believe that Plaintiffs’ request is unnecessary with regard to the

summary judgment motions. Therefore, the Court should deny the request and base its ruling on

the written submissions. If, after considering the parties’ submissions and all supporting materials,

the Court determines that it cannot make a determination without oral argument, Defendants

request that the Court limit arguments to specific topics and set time parameters.



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Dated at Wauwatosa, Wisconsin this 22nd day of September 2023.

                                          WIRTH + BAYNARD
                                          Attorneys for Defendants

                                           /s/ Jasmyne M. Baynard
                                          Jasmyne M. Baynard, WI Bar No. 1099898
                                          9898 W. Bluemound Road, Suite 2
                                          Wauwatosa, Wisconsin 53226
                                          T: 414) 291-7979 / F: (414) 291-7960
                                          Email: jmb@wbattys.com




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